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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION RECEIVED
DEC 16 2024

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

No. Kc’

Gabriela Guadalupe De Gyves Montes

Plaintiff,

Vs.

1:24-cv-12892
Judge Sharon Johnson Coleman

Magistrate Judge Maria Valdez
RANDOMICAT 2

Eating Recovery Center

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Defendant(s).

COMPLAINT UNDER FAMILY AND MEDICAL LEAVE ACT (FMLA)
If the pro se plaintiff has filled out a form Complaint of Employment Discrimination and
wishes also to claim denial of family or medical leave, the plaintiff must staple this form
Complaint to the Complaint of Employment Discrimination. DO NOT file the two form
complaints separately.

I. This is a claim for violation of the Family and Medical Leave Act of 1993, title 29 United

States Code, sections 2601 et seq.

2. The plaintiff's full name is Gabriela Guadalupe De Gyves Montes of the
County of Cook in the State of Illinois

3. The name of plaintiff's employer against which this claim is made (defendant) is
Eating Recovery Center . located at (street

address) 150 East Huron

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10.

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(city) Chicago (county) Cook (state) Illinois (ZIP) 60611 .

Uf plaintiff intends to name anv other party as a defendant, use the space below fo insert

name and address as in paragraph 3.) Defendant is

The plaintiff isAvas employed by the defendant named in paragraph 3 from

(date) 94-17-2023 until 12-12-2024

Defendant is engaged in commerce or an industry affecting commerce.

Defendant regularly employs at least 50 employces at or within 75 miles of plaintiffs

work site. Ll Yes [| No

On 11-26-2024 , plaintiff requested family or medical leave from

defendant or defendant’s representative (name and title of individual to whom request

was made if known) because of
[| the birth of a son or daughter of the plaintiff and in order to care for that infant;
L] the placement of a son or daughter with the employee for adoption or foster care;
L] the need to care for plaintiff's spouse, son, daughter, or parent who had a scrious

medical condition;
il the plaintiffs serious health condition that made plaintiff unable to perform the
functions of the plaintiff's job.
On the date alleged in paragraph 8, plaintiff had been employed by the defendant for at
least 1.250 hours during the previous 12-month period. [x | Yes [| No
Defendant violated plaintiff's rights under the Family and Medical Leave Act because it

denied plaintiff's request for family or medical leave on or about (date) 12-12-2024

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terminated the plaintiff's employment on or about because of plaintiff's

request;
otherwise interfered with, restrained, or discriminated against plaintiff on or about

because of plaintiff's exercise of FMLA rights, specifically,

4 United Shotes civil

I1. Jurisdiction over the violation alleged is conferred by 29 U.S.C. § 2917(a)(2). Stotoulv ¢
oo . . 249... MM
12. Defendant knowingly, intentionally, and willfully violated plaintiff's rights.

13. Plaintiff demands that the case be tried by a jury. Yes LJ No

WHEREFORE, plaintiff demands the following relief:

(a) Damages under 29 U.S.C. § 2617(a)(1)(A) (i)(1) for any wages, salary,
employment benefits, or other compensation denied or lost because of defendant’s
wrongful conduct;

(b) Although no wages, salary, or benefits were lost, damages under 29 U.S.C. §
2617(a)(1)(A)(i) (ID equal to the actual monetary losses sustained by plaintiff
because of defendant’s wrongful conduct, such as the cost of providing care, up to
an amount equal to 12 weeks of wages or salary of plaintiff:

(c) Interest under 29 U.S.C. § 2617(a)(1)(A)(ii):

(d) Liquidated (double) damages under 29 U.S.C. § 2617(a)(1 (A\iii);

(e) Such equitable relief under 29 U.S.C. § 2617(a)(1)(B) as may be appropriate,

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including employment, reinstatement, or promotion, and

direct the defendant to (specify):

Plaintiff's signature: Oporcla Qo oda luge Le G Ws

Plaintiff's name (print clearly or type); Gabriela Guadalupe De Gyves Montes

Mailing address: 5129 S. Harper Avenue

City Chicago «State lllinois zp 60615
Telephone number; ( 773) 8651014

Email address, if any:__degyves.gabriela@gmail.com

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